        Case 2:13-cr-00272-KJM Document 52 Filed 06/19/14 Page 1 of 2


 1   DONALD H. HELLER, SBN 55717
     DONALD H. HELLER,
 2   A Law Corporation
 3   3638 American River Drive
     Sacramento, CA 95864
 4   Telephone: (916) 974-3500
     Facsimile: (916) 520-3497
 5   E-Mail: dheller@donaldhellerlaw.com
 6   Attorneys for Defendant Safia Ahmed

 7                                    UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA                          Case No. 2:13-cr-00272-KJM
11             Plaintiff,
12                                                     STIPULATION AND ORDER TO REMOVE
             vs.                                       CONDITION 3 OF THE PREVIOUSLY
13
                                                       IMPOSED CONDITIONS OF RELEASE
14   JOSEPH NKUNZI, SAFIA AHMED,
     Et.Al.
15

16           Defendants.

17                    IT IS HEREBY STIPULATED, by and between Assistant United States
18           Attorney Michele Beckwith, counsel for the plaintiff United States of America, and
19   Defendant Safia Ahmed by and through her attorney Donald H. Heller to remove Condition 16, as
20   reflected in Document 18 filed on September 4, 2013. Condition 16 provides:
21

22             “You shall participate in the following location monitoring program
               component and abide by all the requirements of the program, which will
23             include having a location monitoring unit installed in your residence and a
               radio frequency transmitter device attached to your person. You shall comply
24             with all instructions for the use and operation of said devices as given to you
               by the Pretrial Services Agency and employees of the monitoring company.
25
               You shall pay all or part of the costs of the program based upon your ability to
26             pay, as determined by the pretrial services officer;
               CURFEW: You are restricted to your residence every day from 9:00 p.m. to
27             6:00 a.m., or as adjusted by the pretrial services officer for medical, religious
               services, employment or court-ordered obligations;’’
28
     Stipulation and Proposed Order
     Case No. 2:13-cr-00272-KJM
         Case 2:13-cr-00272-KJM Document 52 Filed 06/19/14 Page 2 of 2


 1            The basis for this stipulation is that the defendant has been fully compliant with all of her

 2    conditions of release and traveled to Sacramento for a court appearance without any issues.

 3    Defendant’s Seattle Pretrial Services Officers Mark K. Okano and Taifa Gaskins have found the

 4    defendant fully compliant with all of her conditions of release and do not object to the removal of

 5    the condition as stated here in.

 6            It is further stipulated and agreed that all remaining conditions of release shall remain in

 7    full force and effect. The parties agree that based on the defendant’s full compliance with all of

 8    her conditions of release that the conditions of release and the secured bonds in effect will “ . . .

 9    will reasonably assure the appearance of [Ms. Ahmed] as required”. 18 U.S.C. § 3142.

10            Dated: June 11, 2014

11
                                                     BENJAMIN B. WAGNER
                                                     United States Attorney
12

13
                                                     /s/ Michele Beckwith
14                                                   Michele Beckwith
15                                                   Assistant U.S. Attorney

16                                                   /s/ Donald H. Heller
17                                                   Attorney for Defendant
                                                     Safia Ahmed
18

19                                                  ORDER

20            Based upon the representations of counsel and the stipulation of the parties, Good Cause
21    Appearing, IT IS HEREBY ORDERED that: the Condition set forth in Paragraph 16 of the
22
      Conditions of Release (Document 18) as fully described above is hereby removed and all
23
      remaining conditions shall remain in full force and effect.
24
              IT IS SO ORDERED.
25

26    Dated: June 19, 2014

27

28
     Stipulation and Proposed Order                      2
     Case No. 2:13-cr-00272-KJM
